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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                      *
                                              *
               v.                             * Criminal No. JFM-06-0309
                                              * Civil No. JFM-13-2474
                                              *
JAMES DINKINS, ET AL.                         *
                                            *****

                                       MEMORANDUM

       James Dinkins has filed a motion under 28 U.S.C. §2255. The government has filed a

response. Dinkins has not filed a reply.

       Dinkins’ motion is wholly without merit and will be summarily denied.

       First, Dinkins alleges that his trial counsel was ineffective in several respects, including

(1) not communicating to him a 40 year plea offer made to him by the government, (2) not filing

a motion relating to his alleged lack of mental capacity, (3) not filing a motion for

disqualification of the trial judge, (4) not objecting to the insufficiency of the evidence, and (5)

not objecting to several jury instructions. As to the first ground, there is no evidence whatsoever

that the government in fact made a plea offer of 40 years to defense counsel. Likewise, there is

no evidence to demonstrate that a competency hearing was warranted or would have been

successful or that I was biased against Dinkins in any respect. Finally, the evidence of Dinkins’

participation in the conspiracy was overwhelming, and there was no error in the jury instructions.

       Second, Dinkins alleges that the sentencing process was so distorted to render the

sentencing inherently suspect. Dinkins has not specified the manner in which the sentencing

process was allegedly distorted. In fact, the sentencing process was exhaustive and meticulous.

The long sentences imposed upon Dinkins were fully supported by the nature of the conduct in

which he engaged.
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       Third, Dinkins alleges that one of the government attorneys who appeared before the

grand jury should not have been authorized to do so “by reason of her personal participation in

and knowledge of certain events of the investigation which led to the indictment.” Again,

Dinkins does not specify the reasons that the government prosecutor was allegedly unauthorized,

and the claim appears to be wholly without merit. In any event, whatever occurred before the

grand jury, Dinkins was properly convicted on the basis of trial evidence which proved his guilt

beyond a reasonable doubt.

       A separate order denying Dinkins’ motion is being entered herewith.




Date: December 16, 2013                  /s/
                                     J. Frederick Motz
                                     United States District Judge
